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                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

     IN RE:                                                * CASE NO. 21-54989-jwc
                                                           *
     Dennis Gates,                                         *
     and                                                   * CHAPTER 7
     Altermiece Thompson Gates,                            *
     AKA Altermiece Thompson Sumblin; AKA                  *
     Altermiece T Gates,
          Debtors                                          *

               UNSWORN DECLARATION UNDER PENALTY OF PERJURY

         I declare under penalty of perjury that the information set forth below is true and correct

to the best of my knowledge and belief.

                                                      1.

         Due to a recent medical diagnosis, I, Mr. Gates, am contemplating retirement.

                                                      2.

         I, Ms. Gates, have been suffering from health issues and am currently attempting to find a

diagnosis of a medical condition, due to this fact, the business is not generating income currently.



         09 / 13 / 2021
Dated:                                 Signed: _____________________
                                               Dennis Gates



          09 / 13 / 2021
Dated:                                 Signed: _____________________
                                               Altermiece Thompson Gates




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